OPINION — AG — THE BOARD OF CONTROL OF THE TILLMAN COUNTY HOSPITAL IS NOT AUTHORIZED TO ADOPT THE PROPOSED RESOLUTION WHICH HAS BEEN SUBMITTED BY YOU FOR THE FOLLOWING REASONS: THE REFUND AND PETTY CASH ACCOUNTS MAY NOT BE CONSOLIDATED, SINCE THE ACT SETS OUT THE PROCEDURE FOR EACH, THE AMOUNT AUTHORIZED TO BE IN EACH OF SAID ACCOUNTS, AND THE MANNER IN WHICH EACH IS TO BE USED. THE BOARD IS NOT AUTHORIZED TO EXTEND THE SALARY ACCOUNT TO INCLUDE PAYMENT OF SALARIES ON A SEMI MONTHLY BASIS SINCE THE ACT CONTEMPLATES ONLY A MONTHLY BASIS. IT IS THE FURTHER OPINION OF THE AG THAT THE BOARD OF CONTROL MAY ADOPT A RESOLUTION ESTABLISHING AN "A COUNTY PAYABLE ACCOUNT" THOUGH NOT SPECIFICALLY AUTHORIZED, UNDER THE AUTHORITY GRANTED THE BOARD UNDER SECTION 4(D) AND THE PORTION OF YOUR RESOLUTION PERTAINING THERETO SEEMS TO COMPLY WITH THE SPIRIT OF THE ACT. CITE: 19 O.S. 1961 786 [19-786] (W. J. MONROE)